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FILED
fi) ; U.S. DISTRICT COURT
GDB/JCC: USAO 2018R00845 BISTRICT OF MARYLAND

IN THE UNITED STATES DISTRICT COBRADEC 10 PM &: 29
FOR THE DISTRICT OF MARYLAND

 

UNITED STATES OF AMERICA GRE)
+
v. * CRIMINAL NO.
: TRC €or GOy
MATTHEW JOSEPH LUSBY, 7 (Possession with Intent to
* Distribute Controlled Substances,
Defendant * 21 U.S.C. § 841(a)(1); Forfeiture,
* 21 U.S.C. § 853)
*
RKEEKEE
INDICTMENT
COUNT ONE

(Possession with Intent to Distribute Controlled Substances)
The Grand Jury for the District of Maryland charges that:
On or about September 6, 2018, in the District of Maryland and elsewhere, the defendant,
MATTHEW JOSEPH LUSBY,

knowingly and intentionally possessed with the intent to distribute (1) 40 grams or more of a
mixture and substance containing a detectable amount of N-phenyl-N-[1- (2-phenylethyl )-4-
piperidinyl] propanamide, commonly known as fentanyl, a Schedule II controlled substance; and
(ii) a quantity of a mixture and substance containing a detectable amount of heroin, a Schedule I

controlled substance.

21 U.S.C. § 841(a)(1), (b)(1)(B)(vi), and (b)(1)(C)
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FORFEITURE ALLEGATION
The Grand Jury for the District of Maryland further finds that:
1, Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendant
that the United States will seek forfeiture as part of any sentence in accordance with 21 U.S.C.
§ 853, in the event of the defendant’s conviction on Count One of this Indictment.
a As aresult of the offense set forth in Count One of this Indictment, the defendant,
MATTHEW JOSEPH LUSBY,
shall forfeit to the United States of America: |
a. any other property constituting, or derived from, any proceeds obtained,
directly or indirectly, as the result of such violation; and
| b. any property used or intended to be used, in any manner or part, to

commit, or to facilitate the commission of, such violation.

Substitute Assets
3. If, as a result of any act or omission of the defendant, any such property subject to
forfeiture:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be subdivided
without difficulty,
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the United States of America, pursuant to 21 U.S.C. § 853(p), shall be entitled to forfeiture of

substitute property.

21 U.S.C. § 853

 

 

Robert K. Hur

United States Attorney
A TRUE BILL:
SIGNATURE REDACTED 2p laor8
Foreperson Date |
